Case 3:23-cv-02093-RK-JBD            Document 14      Filed 07/19/23      Page 1 of 1 PageID: 261



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 Ronald A. Berutti (NJ, NY, KY)
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                                            July 19, 2023
 Via ECF
 Clerk of the Court
 United States District Court
 District of New Jersey
 402 East State Street
 Trenton, New Jersey 08608

                        Re:       Dzibela v. BlackRock, Inc.
                                  Case No. 3:23-cv-02093-PGS-JBD
                                  Our File No. 01103
 Dear Sir/Madam:

         Please be advised this firm represents plaintiff in the above referenced matter. Presently pending
 is the defendants’ Motion to Dismiss the Third Amended Complaint, returnable August 7, 2023. With
 the consent of my adversaries, we respectfully request defendants’ motion be carried to September 25,
 2023, with opposition papers due September 11, 2023, and reply papers due September 18, 2023. The
 three cycle adjournment is requested due to various attorney vacation schedules which would interfere
 with their ability to make submissions if less than a three cycle adjournment is granted.

        We thank you for consideration of the above.

                                               Respectfully submitted,

                                               MURRAY-NOLAN BERUTTI LLC

                                                      Ronald A. Berutti
                                               By:_______________________________
                                                     Ronald A. Berutti
 RAB:jm
 cc:  Thomas A. Linthorst, Esq. (via ECF)
      Needhy Shah, Esq. (via ECF)




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